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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

 ANTHONY FRANCHI,                                 )
                                                  )
                       Plaintiff,                 )
                                                  )
            v.                                        Case No1: 21-cv-00496-MN
                                                  )
 GENMARK DIAGNOSTICS, INC., KEVIN                 )
 C. O’BOYLE, DARYL J. FAULKNER,                   )
 JAMES FOX, LISA M. GILES, and                    )   COMPLAINT FOR VIOLATIONS OF
 MICHAEL S. KAGNOFF,                              )   THE FEDERAL SECURITIES LAWS
                                                  )
                       Defendants.                )   JURY TRIAL DEMANDED
                                                  )

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff voluntarily dismisses the claims in the above-captioned action (the “Action”). Defendants

have neither served an answer or a motion for summary judgment in the Action.


 Dated: May 5, 2021                                    LONG LAW, LLC

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